       Case 2:17-cr-00187-KJM Document 8 Filed 10/24/17 Page 1 of 3


1

2

3

4

5

6

7                         UNITED STATES DISTRICT COURT

8                       EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,            No.   2:15-CR-00139-GEB
11                Plaintiff,
12        v.
13   EMMA KLEM,
14                Defendant.
15
     UNITED STATES OF AMERICA,
16                                        No.   2:15-CR-00146-GEB
                  Plaintiff,
17
          v.
18
     KULWINDER DOSANJH SINGH,
19     aka “Sandhu,” aka “Sodhi,”
20
                  Defendant.
21

22   UNITED STATES OF AMERICA,
                                          No.   2:15-CR-00161-GEB
23                Plaintiff,
24        v.
25   ANDREW KIMURA, et al.,
26
                  Defendants.
27

28
                                         1
         Case 2:17-cr-00187-KJM Document 8 Filed 10/24/17 Page 2 of 3


1    UNITED STATES OF AMERICA,
2                   Plaintiff,              No.   2:17-CR-00187-KJM

3          v.
4    SCATTAGLIA, et al.,                    RELATED CASES ORDER
                 Defendants.
5

6

7                On October 19, 2017, the United States of America filed
8    a “Notice of Related Cases,” in which it states:
9                All of the above-referenced cases arise out
                 of a series of on-going investigations by
10               Federal Bureau of Investigation (“FBI”),
                 Department of Homeland Security, Homeland
11               Security    Investigations     (“HSI”),    and
                 Department   of   Motor   Vehicles-Office   of
12               Internal Affairs (“DMV-OIA”). The first three
                 above-captioned cases (United States v. Klem,
13               United States v. Singh, and United States v.
                 Kimura, et al.) were filed in 2015, and
14               include allegations that the named defendants
                 and others engaged in a common conspiracy or
15               common conspiracies to commit bribery and to
                 commit identity fraud in violation of 18
16               U.S.C. § 371. The factual allegations relate
                 to the same bribery and identity fraud
17               conspiracy   to   obtain   California   driver
                 licenses   (CDLs)   without   the   applicants
18               needing to take or pass the requisite
                 examinations, and include some of the same
19               overt acts in furtherance of the scheme. By
                 order of the Court,[1] the first three cases
20               were found related and were assigned to the
                 same judge.[]
21
                 As   a    result   of   the    FBI/HSI/DMV-OIA
22               investigation into the Klem-Singh-Kimura et
                 al. conspiracy, defendant Kari Scattaglia in
23               United States v. Scattaglia, et al., 2:17-cr-
                 00187 KJM, was identified as a subject of the
24               on-going    investigation.    This    included
                 evidence that Scattaglia accessed some of the
25               same fraudulent records as some of the
                 defendants named in the Klem-Singh-Kimura, et
26               al., cases and which were part of the charged
                 conduct in Klem-Singh-Kimura, et al.
27

28   1
           Related Case Order, ECF No. 35 in 2:15-cr-00161.
                                           2
       Case 2:17-cr-00187-KJM Document 8 Filed 10/24/17 Page 3 of 3


1                In Scattaglia, et al., Scattaglia and co-
                 defendant Lisa Terraciano are charged as part
2                of a conspiracy to commit bribery, identity
                 fraud, and unauthorized access of a computer
3                to obtain CDLs without the applicants needing
                 to take or pass the requisite examinations.
4                In substance, the information in Scattaglia,
                 et al., charges a similar conspiracy with
5                some overlapping evidence as in the Klem-
                 Singh-Kimura, et al., conspiracies. Compare
6                Scattaglia, Dckt. No. 1 with Klem, Dckt. No.
                 1; Singh, Dckt. No.1, and Kimura, et al.,
7                Dckt. No. 1.[]

8                The United States also believes that there
                 may be some overlapping evidentiary questions
9                as well as the same or similar questions of
                 law,   including  the   calculation  of   the
10               advisory sentencing guidelines based on the
                 same or similar issues unique to the DMV
11               bribery cases.

12   Mot.   to   Relate   2:13–3:11,      ECF    No.   96    in   2:15-cr-00161-GEB

13   (footnotes omitted).

14               The actions are related within the meaning of Local

15   Rule 123 (E.D. Cal. 2005).           Under the regular practice of this

16   court, related actions are generally assigned to the judge to

17   whom the first filed action was assigned.              Therefore, case number

18   2:17-cr-00187-KJM is reassigned to the undersigned judge for all

19   further proceedings, and the caption on the reassigned action

20   shall show the initials “GEB.”             Further, any date currently set

21   in the reassigned action is VACATED.

22               The   Clerk   of   the   Court     shall    make   an   appropriate

23   adjustment in the assignment of criminal cases to compensate for

24   this reassignment.

25               Dated:   October 24, 2017

26
27

28
                                            3
